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in Re: Fema Trailer formaldehyde Products Liability Litigation H. James Wedner
7/13/2009
Page 2
1 UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

Od RB

4 IN RE: FEMA TRAILER
FORMALDEHYDE PRODUCTS

5
6 LIABILITY LITIGATION,

7

8 Plaintiff,
9 - MDL No. 1873
10 SECTION "N™ (5)
11 JUDGE ENGELHARDT

12 MAGISTRATE CHASEZ

13

14 THIS DOCUMENT IS RELATED TO

15 CHARLIE AGE, et ai V. GULFSTREAM

16 COACH, INC., et al, DOCKET NO.

17 09-2892; ALANA ALEXANDER,

18 Individuaily and on behalf of

19 CHRISTOPHER COOPER

SE Lana

22 Videctaped Deposition of H. JAMES WEDNER,
23 M.D., produced, sworn and examined on July 13, 2009,

24 between the hours of eight o'clock in the forenoon

25 and six o'clock in the afternoon of that day, at the :
BALERS TAGE EA ASTRA LG eas SEAS OPES ERE RT NOR OSS ES DRCOG ERE LEA PRS ASCE ee TT SSE SS
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1 offices of St. Louis Children's Hospital, 4590

2 Children's Place, Northwest Tower in St. Louis, State
3 of Missouri, before TOD MINNIGERODE, Certified Court :
4 Reporter No. 542 within and for the State of

5 Missouri, in a certain cause now pending in the

6 United States District Court, Eastern District of

7 Louisiana.

8

9

10 APPEARANCES

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Page 4

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and so here is -- and his previous pulmonary
function testing that I had available were also
consistent with asthma and he had an
allergic-looking exam and he had a bit of
prolcongaticn of his expiratory phase when I listened
to his chest. All of this is consistent with
bronchial asthma.

Q Where did you examine Christopher Cooper?

A I was at the clinic in Metairie, Jefferson
Pulmonary Associates.

Qo Did you do the examination yourself or were
you simply an cbserver?

A No, no, I did it all by myself.

Q Now are you a physician that is licensed in
Louisiana?

A No.

Q Did you get a special dispensation to do
the examination?

A No.

Q Where are you licensed to practice
medicine?

A Missouri.

Q Only Missouri?

A Correct.

Did you reach a conclusion that Christopher

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i Cooper's asthma was not exacerbated by formaldehyde?
2 A Yes.
3 Q How did you reacn that conclusion?
4 A Basically based on his history, I mean,
5 what he told me was that he hadn't really had to use |
6 his albuterol more than once or twice a week when he
7 was in the trailer, when he was at his worst time,
8 which is in the fall, his place that he would go to |
9 get away from his allergies was inside, not outside
10 and the only time that he was actually :
11 pre-medicating was when he played football.
12 Q Did he have any asthmatic attacks during
13 the time he was in the trailer?
14 A He had one attack in December of 2007.
15 Q Did it require hospitalization? :
16 A He was in the emergency room.
17 Q Prior to May of 2006 which I believe was
18 Christopher Cooper's move-in date to the FEMA
19 traller, when was the last time he had either been
20 to an emergency room or had been hospitalized
2d because of an asthmatic attack?
22 A When he was a child, a young child.
23 Q And do you recall approximately the date
24 that Christopher Cooper was taken to an emergency
25 room because of an asthmatic attack when he was
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Deposition of

H. JAMES WEDNER, M.D.

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